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JTW, 09,109.21

U.S. Department of Justice

 

 

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September 10, 2021 . Bo
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Nathan Smith, Esq. ma <3 os
Office of the Federal Public Defender . BS2 mg eT
100 South Charles Street a Oo SS
Tower IL, Suite 900 em & 2s
Baltimore, MD 21201 = 3 iS
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Re:

United States v. James Ian Piccirilli,
Criminal No. ELH-20-0361

 

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, James Ian Piccirilli (hereinafter “Defendant”,
by the United States Attorney’s Office for the District of Maryland (“this Office’). If the
Defendant accepts this offer, please have the Defendant execute it in the spaces provided below.

If this offer has not been accepted by September 24, 2021, it will be deemed withdrawn. The
terms of the Agreement are as follows:

Offense of Conviction

l. The Defendant agrees to plead guilty to Count 1 of the Indictment, which charges
the Defendant with failing to surrender for service of sentence, in violation of 18 U.S.C.

§ 3146(a)(2). The Defendant admits that the Defendant is, in fact, guilty of the offense and will
so advise the Court.

Elements of the Offense

2. The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

a. That on or about March 16, 2020, in the District of Maryland and elsewhere,

the Defendant had been released pending service of sentence in connection with another criminal
charge;

b. That a court order required the Defendant to surrender for service of
sentence by March 16, 2020;

c. That the Defendant was aware of this requirement to surrender;

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d. That the Defendant failed to surrender as required; and
é. That the Defendant’s failure to surrender was knowing and willful.
Penalties

 

 

 

 

 

 

 

 

 

 

 

3. The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
Count Statute Minimum Maximum Supervised Maximum Special
Prison Prison Release Fine Assessment
18 U.S.C. 5 years
1 § 3146(a)(2) N/A (consecutive) 3 years $250,000 $100
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.
b. Supervised Release: If the Court orders a term of supervised release, and

the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

C. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f, Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant

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agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by'this Office.

Waiver of Rights

4. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. Ali twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth.in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement,

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g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

a. This Office and the Defendant further agree that the applicable base offense
level is 11 pursuant to United States Sentencing Guidelines (“U.S.8.G.”) § 2J1.6(a)(1) because the
offense constituted a failure to report for service of sentence.

b. The parties further agree that the Defendant has stipulated to a more serious
offense—specifically, possession of unregistered firearms. Pursuant to U.S.S.G..§ 1B1.2(a), the
guidelines for the more serious offense applies.

c. Therefore, the adjusted offense level is 20 pursuant to U.S.S.G.
§ 2K2.1(a)(4)(B) because the offense involved firearms described in 26 U.S.C. § 5845(a) and the
Defendant was a prohibited person at the time he committed the instant offense.

d, A 2-level increasé applies pursuant to U.S.S.G. § 2K2.1(b)(1)(A) because
the offense involved 3 firearms. The adjusted offense level is 22.

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e, This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1,1(a), and may decline to make a motion pursuant to U.S.S.G. § 3E1.1(b), if
the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii) denies
involvement in the offense; (iii) gives conflicting statemerits about the Defendant’s involvement
in the offense; (iv) is untruthful with the Court, this Office, or the United States Probation Office;
(v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal
conduct between the date of this Agreement and the date of sentencing; (vii) attempts to withdraw
the plea of guilty; or (vili) violates this Agreement in any way. The final offense level is 19.

f. The Defendant acknowledges that, pursuant to U.S.S.G. § 5G1.3(a) and
18 U.S.C. § 3146(b)(2), the sentence for the instant offense must be consecutive to the sentence
of imprisonment for any other offense because the Defendant committed the instant offense after
sentencing for, but before commencing service of, a term of imprisonment.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11 (c) (1) (C) Plea

9, The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11¢c)(2)(C) that a sentence between 30 and 46 months of imprisonment in the custody of the
Bureau of Prisons is the appropriate disposition of this case taking into consideration the nature
and circumstances of the offense, the Defendant’s criminal history, and all of the other factors set
forth in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to impose any
lawful term of supervised release or fine or to set any lawful conditions of probation or supervised
release. In the event that the Court rejects this Agreement, except under the circumstances noted
below, either party may elect to declare the Agreement null and void. Should the Defendant so
elect, the Defendant will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that if the Court
finds that the Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge
personal responsibility as set forth herein, neither the Court nor the Government will be bound by

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the specific sentence contained in this Agreement, and the Defendant will not be able to withdraw
his plea.

Obligations of the Parties

10. At the time of sentencing, this Office shall recommend a sentence within the agreed
upon range of 30 to 46 months of imprisonment, as described above. This Office reserves the
right to bring to the Court’s attention all information with respect to the Defendant’s background,
character, and conduct that this Office deems relevant to sentencing, including the conduct that is
the subject of any counts of the Indictment. At the time of sentencing, this Office will move to
dismiss any open counts against the Defendant.

Waiver of Appeal .

11. In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute to which the Defendant is pleading guilty is unconstitutional, or on the ground that
the admitted conduct does not fall within the scope of the statute, to the extent that such challenges
legally can be waived.

b, The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

i. The Defendant reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment exceeds 46-months; and

ii. This Office reserves the right to appeal the sentence of
imprisonment if the total term of imprisonment is less than 30 months.

C. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture

12. The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable

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to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offenses.

13. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

14. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose ali assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

15. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

16. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.8.G, § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

17. Ifthe Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11 (c)(1)(C); and (i1i) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c}(1}\(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither

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the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

18. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court, and the Court is under no obligation to accept this plea agreement.
In the event the Court rejects this Rule 11(c)(1)(C) plea agreement, pursuant to Rule 11(c)(5)(C),
the Defendant will be informed that he may withdraw the plea. If the Defendant persists in the
guilty plea thereafter, the Defendant understands that the disposition of the case may be less
favorable than that contemplated by this agreement. The Defendant understands that neither this
Office, the Defendant’s attorney, nor the Court can make a binding prediction or promise that the
Court will accept this Agreement. The Defendant agrees that no one has made such a binding
prediction or promise.

Entire Agreement

19. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

Ifthe Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner
Acting United States Attorney

    

Patricia McLane
Assistant United States Attorneys

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[have read this Agreement, including the Sealed Supplement, arid carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

9/14/2021
Date 9/ya/a

  

 

Jaries lan Piccirflli

I am the Defendant’s attorney. 1 have carefully reviewed every part-of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

9/14/2021 aU. —-
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Date Nathan Smith, Esq. “S

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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

The National Firearms Act (“NFA”) regulates certain firearms, known as “NFA firearms,” —
such as fully-automatic firearms and silencers. A person may not posséss an NFA firearm that is
not registered to him in the National Firearms Registration and Transfer Record (“NFRTR”) or
- identified by a serial number.

On January 14, 2020, the district court in Maryland sentenced Defendant James lan
Piccirilli to 30 months’ imprisonment for possessing an unregistered NFA firearm. Piccirilli’s
girlfriend, Kellie Nicole Warfield, was at the sentencing hearing and watched the proceedings from
the gallery. Because Piccirilli had been released on conditions since February 2019, the district
court ordered him to surrender by 2:00 p.m. on March 16, 2020, to begin serving his sentence.
The district court communicated the order to Piccirilli orally during the sentencing hearing and in
writing in his judgment, which was docketed on CM/ECF.

On January 24, 2020, his probation officer received an alert that Piccirilli had disabled his
ankie monitor and had failed to return home by his curfew. Piccirilli and Warfield got rid of their
phones, and they sold their vehicle. For months, investigators with the Bureau of Alcohol,
Tobacco, Firearms, and Explosives (“ATF”) and U.S. Marshals interviewed their family and
friends, all of whom denied seeing Piccirilli or Warfield after January 2020.

Piccirilli did not surrender by 2:00 p.m. on March 16, 2020.

In July 2020, witnesses identified Warfield’s Words With Friends account. Through search
warrants for the account, investigators saw messages that Warfield sent in April 2020. In one
message, Warfield wrote to a friend that the decision “was a tough one, but necessary.” In another
message, Warfield wrote that she “still can’t believe it all turned out the way it did,” but that “we
made the best decision.” Investigators believe these messages refer to the decision to flee.

The Words With Friends account revealed Warfield’s new email address, which
investigators got a warrant to search. Her emails revealed her new phone number, which helped
investigators identify Piccirilli’s new number. Investigators tracked the phones in real time, which
showed that Piccirilli and Warfield were living in Ramsey, Indiana. Warfield’s other online
activity showed that she had researched “boondocking” (camping for free) and had looked for jobs.
She received Kansas temporary tags for a truck they bought while on the run. But by
September 2020, Warfield had used her real name, birthdate, and personal information to get an
Indiana driver’s license and an Indiana registration for the truck.

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On October 13, 2020, investigators arrested Piccirilli and Warfield at a restaurant in New
Salisbury, Indiana, where Warfield worked. At the time, they were living in a camper that was
attached to a truck. After waiving his Miranda rights, Piccirilli told investigators that there was a
tifle in the camper. After waiving her Miranda rights, Warfield confirmed that there was a rifle in
the camper, along with another pistol. She also told investigators that there was a pistol in the
truck. She denied ownership of the firearms.

' Investigators executed search warrants on the truck and camper. In the truck, they found a
Polymer 80 9mm caliber pistol bearing no serial number, loaded with a full magazine of
ammunition. They also found two more fully loaded magazines for the pistol.

Inside the camper, investigators found a DPMS A-15 .223/5.56mm caliber rifle and
additional rounds of ammunition. The rifle had a selector switch, which (a lab confirmed) made
it capable of firing three rounds of ammunition with one trigger pull. Lastly, a witness told
investigators that Piccirilli (whom she knew only as “Jack Davis”) asked her to hold a pistol for
him. The witness had a bag containing an HK VP9-T 9mm caliber pistol and a silencer, both of
which belonged to Piccirilli. The silencer had no serial number, as required by the NFA. The rifle
and silencer are NFA firearms and meet the definition of a firearm under 26 U.S.C. § 5845(a).
Piccirilli had no NFA firearms registered to him in the NFRTR.

Piccirilli agrees that he was on release for another criminal charge and that he was required
by court order to surrender for service of sentence by March 16, 2020. Despite being aware of that
requirement, he knowingly and willfully failed to surrender. In addition, he knowingly possessed
NFA firearms that were not registered to him in the NFRTR. He knew that those objects were
NFA firearms.

These events happened in the District of Maryland and elsewhere.

SO STIPULATED:
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Patricia McLane
Assistant United States Attorne

 

 

 

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efendant

ne ae

Nathan Smith, Esq.
Counsel for Defendant

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